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  9 HILLAIR CAPITAL MANAGEMENT,
    LLC
 10

 11                             UNITED STATES BANKRUPTCY COURT

 12                              CENTRAL DISTRICT OF CALIFORNIA

 13                                     LOS ANGELES DIVISION

 14   In re:                                             CASE NO. 2:19-bk-14989-WB
                                                         Jointly Administered:
 15   SCOOBEEZ, et al.1                                  2:19-bk-14991-WB; 2:19-bk-14997-WB

 16             Debtors and Debtors in Possession.       CHAPTER 11

 17   Affects:

 18           All Debtors                               HILLAIR CAPITAL MANAGEMENT,
                                                         LLC’S NOTICE OF WITHDRAWAL OF
 19           Scoobeez, ONLY                            THE APPLICATION FOR ORDER
                                                         SETTING HEARING ON SHORTENED
 20           Scoobeez Global, Inc., ONLY               NOTICE

 21           Scoobur, LLC, ONLY

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 26      1
          The Debtors and the last four digits of their respective federal taxpayer identification
    numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
 27
    (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.
 28

                                                                                NOTICE OF WITHDRAWAL
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  1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

  2          PLEASE TAKE NOTICE that Hillair Capital Management, LLC (“Hillair”) submits this

  3 Notice of Withdrawal to the Application for Order Setting Hearing on Shortened Notice, filed on

  4
      October 28, 2019 (Adv. Dkt. No. 8).
  5

  6
      DATED: October 29, 2019                    QUINN EMANUEL URQUHART &
  7                                              SULLIVAN, LLP
  8

  9                                              B
                                                 y
 10
                                                 John B. Quinn
 11                                              Crystal Nix-Hines
                                                 Eric D. Winston
 12                                              Jennifer L. Nassiri
 13                                              Attorneys for Proposed Intervenor and Plaintiff
                                                 Hillair Capital Management, LLC
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                                                                           NOTICE OF WITHDRAWAL
